                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             CASE NO. 1:14-CV-954

 STUDENTS FOR FAIR ADMISSIONS,                )
 INC.,                                        )
                                              )
                             Plaintiffs,      )
                                              )   JOINT MOTION REGARDING
 v.                                           )   CERTAIN PRE-TRIAL ISSUES
                                              )   AND REQUEST TO ADJUST
 THE UNIVERSITY OF NORTH                      )   CERTAIN BRIEFING DEADLINES
 CAROLINA AT CHAPEL HILL, et al.,             )
                                              )
                              Defendants.     )
                                              )
                                              )


        Plaintiff Students for Fair Admissions, Inc. and Defendants The University of

North Carolina at Chapel Hill, et al., respectfully make this joint motion with respect to

certain pre-trial matters, which Intervenor-Defendants also join. First, the parties intend

to resolve Count III via a stipulated judgment that preserves SFFA’s right to present that

claim on appeal. Second, the parties respectfully request that the deadline for the parties’

trial briefs, along with proposed findings of fact and conclusions of law, be adjourned

until after trial.

        In 2019, SFFA and the University each moved for summary judgment. On

September 30, 2019, the Court denied those motions (Dkt. 190 (the “Order”)) and,

shortly thereafter, set the case for a May 2020 bench trial (Dkt. 194). Since that time, the

parties have sought to streamline the evidence that will need to be presented live at trial,

including, for example, through cooperative discussions to identify those witnesses who




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must testify in court and specific facts to which the parties might be able to stipulate.

Consistent with these efforts to respect and conserve the resources of the Court, the

parties wish to resolve Count III of the Complaint in advance of trial. In Count III, SFFA

seeks a ruling “that any use of race as a factor in UNC’s admissions decisions violates

federal law.” (Order at 25). This Court is foreclosed by precedent from entering such a

ruling. And as the Court previously noted, neither party advanced specific arguments

with respect to Count III at summary judgment. (Id.) This is because the resolution of

Count III does not and will not turn upon any factual evidence. Thus, the parties request

the Court’s guidance on the most expeditious manner to effectuate a judgment on Count

III that preserves SFFA’s right of appellate review.1

       For similar reasons of efficiency and to provide useful assistance to the Court, the

parties respectfully request that the submission of trial briefs, along with proposed

findings of fact and conclusions of law, be deferred until 45 days from the receipt of the

official transcripts of the bench trial rather than the current deadline of April 20, 2020.

(Dkt. 194) The parties respectfully submit that any pre-trial briefing is likely to echo or

restate the arguments made in their (lengthy) cross motions for summary judgment. As

evidenced by the Court’s detailed and carefully considered Order, the Court is well aware

of the parties’ arguments and pre-trial record, and thus, the parties believe that additional

pre-trial briefing is unlikely to aid the Court’s consideration of the issues ahead of trial.

Conversely, the parties anticipate that post-trial submissions will materially aid the


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    Any appeal will proceed only after a final resolution of all claims.

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Court’s consideration of the evidence, including by directing the Court to specific trial

testimony and exhibits and by analyzing this admitted trial evidence within the context of

the legal framework. Thus, the parties respectfully request that the Court enter an order

adjourning the current deadline for trial briefs and proposed finding of facts and

conclusions of law to 45 days following the receipt of trial transcripts with opposition

briefs due 30 days thereafter.




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Respectfully submitted this 23rd day of March, 2020.



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                            CERTIFICATE OF SERVICE

      I hereby certify that on March 23, 2020, I filed a true and correct copy of the

foregoing JOINT MOTION REGARDING CERTAIN PRE-TRIAL ISSUES AND

REQUEST TO ADJUST CERTAIN BRIEFING DEADLINES with the Clerk of Court

using the CM/ECF system.



This 23rd day of March, 2020.

                                                       /s/ Patrick Fitzgerald
                                                       Patrick Fitzgerald




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